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                                                                            2024 Dec-13 PM 12:43
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
      vs.                           ) Case No. 2:24-CR-00485-AMM-NAD
                                    )
BLAKE MILLER BARAKAT                )


                           MOTION FOR PRETRIAL
            PSYCHIATRIC OR PSYCHOLOGICAL EXAMINATION


      COMES NOW the Defendant Blake Miller Barakat by and through her

CJA counsel, Michael W. Whisonant, Sr. and moves this Honorable Court to

order a pretrial psychiatric or psychological examination to the existence of

insanity at the time of the offense pursuant to 18 U.S.C. ¶ 4242 and in support

of said motion, says as follows:




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1. The Defendant has filed a notice of intent to assert a defense of insanity

   at the time of the alleged offense Defense in this case pursuant to Rule

   12.2(b)

2. This motion is based upon the below signed counsel’s belief that there

   is reasonable cause to believe that the Defendant may have been

   suffering from a severe mental disease or defect at the time of the

   alleged offenses which rendering her unable to appreciate the nature

   and quality or wrongfulness of her actions.

3. The Defendant respectfully moves pursuant to 18 U.S.C. ¶ 4242(a) that

   the Court order a psychiatric or psychological examination as to

   whether the Defendant suffered from a severe mental disease or defect

   at the time of the alleged offenses rendered her unable to appreciate

   the nature and quality or wrongfulness of her actions.

4. Below signed counsel further moves that this Honorable Court direct

   that any psychiatric or psychological report produced in this case be

   provided to both the Defendant and the government.




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Respectfully submitted this 13th day of December, 2024.


                                 s/s Michael W. Whisonant, Sr.
                                 (ASB-6905-N70M)
                                 Whisonant Law, LLC
                                 2320 Arlington Av. South
                                 Birmingham, Alabama 35205
                                 Whisonantmike1@gmail.com



                       CERTIFICATEOF SERVICE


  I, Michael W. Whisonant, Sr. do hereby certify that I have on this the

13th day of December 2024, electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of

such filing to all CM/ECF participants in this case.


                                 /s/ Michael W. Whisonant, Sr.




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